Case 9:19-mc-80024-DMM Document 17 Entered on FLSD Docket 04/10/2019 Page 1 of 3



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION


   PUES FAMILY TRUST IRA,                                       CASE NO.: 19-MC-80024 DMM
   MICHAEL PUES EXECUTOR,
   vs.

   PARNAS HOLDINGS, INC. AND
   LEV PARNAS,

         Debtors.
   _________________________________________/

                     RESPONSE OF DEFENDANT, LEV PARNAS,
              TO SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION,
       OR OBJECTS OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

          Defendant, LEV PARNAS, by his undersigned counsel, hereby responds to the Subpoena

  To Produce Documents, Information, or Objects or to Permit Inspection of Premises served by

  Plaintiff, PUES FAMILY TRUST IRA, MICHAEL PUES, EXECUTOR, and states:

  I.      Bank Records

          All Bank records requested by the Plaintiff in Paragraph I (A) through I (F), inclusive, are

  in the possession of the CPA for Lev Parnas and Svetlana Parnas. The CPA is Michael Daszkal

  of Daszkal Bolton, LLP. Mr. Daszkal’s letter of February 5, 2019, stating that his firm is working

  on the personal income taxes of Svetlana and Lev Parnas and the business tax returns for entities

  in which they have an interest in for the tax periods December 31, 2010 through December 31,

  2018 is being separately furnished to Plaintiff’s counsel today.

          LEV PARNAS has no records, documents or other items which are sought by Plaintiff in

  Paragraph I (G) through I (M), inclusive.
Case 9:19-mc-80024-DMM Document 17 Entered on FLSD Docket 04/10/2019 Page 2 of 3
                                                                                  Case No.: 19-MC-80024 DMM
                                                     Defendant’s, Lev Parnas, Response to Subpoena to Produce
                                           Documents, Information, or Objects or to Permit Inspection of Premises

  II.      Real Property

           LEV PARNAS has no records, documents or other items which are sought by Plaintiff in

  Paragraph II (A) through II (E), inclusive.

           II (F) – The only and current Lease in the possession of LEV PARNAS, sought by

  Plaintiff in II (F), is being separately furnished to Plaintiff’s counsel today.

           LEV PARNAS has no records, documents or other items which are sought by Plaintiff in

  Paragraph II (G) through II (M), inclusive.

  III.     Personal Property

           LEV PARNAS has no records, documents or other items which are sought by Plaintiff in

  Paragraph III (A) through III(C), inclusive.

           III (D) – LEV PARNAS is attempting to compile a list of any household furnishings and

  fixtures purchased in the past five (5) years which had a purchase price in excess of $999.00 but

  does not believe any such items exist.

           LEV PARNAS has no records, documents or other items which are sought by Plaintiff in

  Paragraph III (E) through III (I), inclusive.

  IV.      Business Interests/Employment

           LEV PARNAS has no records, documents or other items which are sought by Plaintiff in

  Paragraph IV (A) through IV (H), inclusive.

  V.       Investments

           LEV PARNAS has no records, documents or other items which are sought by Plaintiff in

  Paragraph V (A) through V (F), inclusive.




                                                       2
Case 9:19-mc-80024-DMM Document 17 Entered on FLSD Docket 04/10/2019 Page 3 of 3
                                                                                   Case No.: 19-MC-80024 DMM
                                                      Defendant’s, Lev Parnas, Response to Subpoena to Produce
                                            Documents, Information, or Objects or to Permit Inspection of Premises

  VI.      General

           LEV PARNAS has no records, documents or other items which are sought by Plaintiff in

  Paragraph VI (A) through VI (E), inclusive.

           VI (F) – A copy of LEV PARNAS’ passport is being separately furnished to Plaintiff’s

  counsel today.

           LEV PARNAS has no records, documents or other items which are sought by Plaintiff in

  Paragraph VI (G) through VI (J), inclusive.

           VI (K) – A copy of LEV PARNAS’ Florida Driver’s License is being separately

  furnished to Plaintiff’s counsel today.

           LEV PARNAS has no records, documents or other items which are sought by Plaintiff in

  Paragraph VI (L) through VI (M), inclusive.

                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that I electronically filed the foregoing with the Clerk of the Court

  and furnished a copy via email to: Tony Andre, Esquire, Andre Law Firm P.A., Counsel for

  Judgment Creditor, 18851 NE 29th Avenue, Suite 724, Aventura, FL 33180; Telephone: 786-

  708-0813; Email: andre@andrelaw.com on this 9th day of April, 2019. I also certify that I am

  admitted to the United States District Court for the Southern District of Florida.

                                                         /s/ Chris Alan Draper
                                                         Chris A. Draper, Esquire
                                                         Florida Bar No. 0838640
                                                         Greenspoon Marder LLP
                                                         Counsel for Defendant, Lev Parnas
                                                         525 Okeechobee Blvd., Suite 900
                                                         West Palm Beach, FL 33401
                                                         561-838-4506
                                                         Chris.Draper@GMLaw.com
                                                         Jane.Turner@GMLaw.com



                                                        3
  39581361v1 \ 48490.0003
